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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


NICOLE CARTER,

       Plaintiff,

       v.                                                 Civil Action No.      1:25-cv-10447

SHEIN US SERVICES, LLC,

       Defendant.


                          DEFENDANT’S NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441, & 1146 and Local Rule of Civil Procedure 81.1,

defendant SHEIN US Services, LLC (“SHEIN” or “Defendant”), through its undersigned counsel,

hereby removes the action styled Nicole Carter v. SHEIN US Services, LLC, Civil Action No.

2579CV00062, filed in the Hampden County Superior Court of the Commonwealth of

Massachusetts (the “Action”), to the United States District Court for the District of Massachusetts.

       This Court has subject matter jurisdiction over this Action pursuant to 28 U.S.C. § 1331.

As grounds for removal, Defendant states as follows:

I.     STATE COURT ACTION

       1.      Plaintiff Nicole Carter (“Carter” or “Plaintiff”) commenced the Action in state court

by filing a Complaint against Defendant on or about January 27, 2025, in the Hampden County

Superior Court of the Commonwealth of Massachusetts.

       2.      In accordance with 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders

served upon Defendant in the Action in state court is attached hereto as Exhibit A.

       3.      In her Complaint, Plaintiff brings causes of action against Defendant (the only

defendant) for: (1) violation of the federal Telephone Consumer Protection Act, 47 U.S.C. §



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227(b)(1)(A) (Count I); (2) violation of the Massachusetts Telemarketing Solicitation Act, G.L. c.

159C, § 4 and 201 C.M.R. § 12.02(5) et al. (Count II); (3) violation of G.L. c. 93A (Count III);

further violation of the federal Telephone Consumer Protection Act, 47 U.S.C. § 227(b)(1)(B) and

47 C.F.R. § 64.1200(a)(2),(3) (Count IV); and violation of the Massachusetts Telemarketing Sales

Act, G.L. 159C (Count V). (See Ex. A (Compl. ¶¶ 27-72).)

       4.      On February 5, 2025, SHEIN’s registered agent in California received a copy of the

Complaint and Summons, which appear to have been sent by certified mail and by Plaintiff herself.

II.    FEDERAL QUESTION JURISDICTION: 28 U.S.C. §§ 1331 & 1441(a)

       5.      This Court has subject matter jurisdiction over this removed Action pursuant to 28

U.S.C. §§ 1331 and 1441(a).

       6.      This Court and all district courts “shall have original jurisdiction over all civil

actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

       7.      Pursuant to 28 U.S.C. § 1441, “any civil action brought in a State court of which

the district courts of the United States have original jurisdiction, may be removed by the defendant

or the defendants, to the district court of the United States for the district and division embracing

the place where such action is pending.” 28 U.S.C. § 1441(a).

       8.      Here, Plaintiff brings two causes of action under the federal Telephone Consumer

Protection Act, 47 U.S.C. § 227. (See Ex. A (Compl. ¶¶ 27-35 (Count I), ¶¶ 59-66 (Count IV)).)

       9.      The Telephone Consumer Protection Act – a federal statute – arises under the laws

of the United States. See 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368,

386-87 (2012) (confirming that federal district courts have jurisdiction over private suits arising

under the Telephone Consumer Protection Act).




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       10.     Indeed, Plaintiff acknowledges in her Complaint that her allegations and causes of

action under the Telephone Consumer Protection Act give rise to federal question jurisdiction:

               This Court has federal question subject matter jurisdiction over this action pursuant
               to 28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection
               Act, 47 U.S.C. §§ 227, et seq. (“TCPA”)

       (Ex. A (Compl. ¶ 2.).)

       11.     Plaintiff therefore does not contest, and in fact acknowledges in her Complaint, that

this Court has subject matter jurisdiction over this Action.

       12.     Considering the above, this Court has original jurisdiction over this matter such that

it could have been originally filed in this Court, 28 U.S.C. § 1331, and this action is thus removable

to the United States District Court for the District of Massachusetts, 28 U.S.C. § 1441(a).

IV.    NOTICE TO PLAINTIFF AND STATE COURT

       13.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal will be promptly served on Plaintiff, and a copy will be promptly filed with the Clerk of

the Court for the Hampden County Superior Court.

       14.     A draft copy of the Notice of Filing of Notice of Removal that will be promptly

served on Plaintiff and filed with the Clerk of the Court for the Hampden County Superior Court

is attached hereto as Exhibit B.

       15.     There are no other defendants in this action besides SHEIN.

V.     REMOVAL IS TIMELY

       16.     Removal is timely under 28 U.S.C. § 1446 because less than 30 days have passed

since Defendant was served with the Summons and Complaint on February 5, 2025. See 28 U.S.C.

§ 1446(b)(1) (“The notice of removal of a civil action or proceeding shall be filed within 30 days




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after the receipt by the defendant, through service or otherwise, of a copy of the initial pleading

setting forth the claim for relief upon which such action or proceeding is based…”).

VI.    VENUE IS PROPER

       17.     Pursuant to 28 U.S.C. § 1441, venue in this District is proper because this Action

was pending in the Hampden County Superior Court, Massachusetts, which is a court sitting within

the United States District Court for the District of Massachusetts. See 28 U.S.C. § 1441(a)

(permitting removal “to the district court of the United States for the district and division

embracing the place where such action is pending.”). “Massachusetts contains one judicial district,

undivided, with no divisions therein.” Brennan v. City of Leominster, 180 F.R.D. 192, 193 (D.

Mass. 1998).

       18.     Moreover, venue is proper in “a judicial district in which a substantial part of the

events or omissions giving rise to the claim occurred.” 28 U.S.C. § 1391(b)(2). As Plaintiff herself

alleges in her Complaint, “venue is proper in this District because Plaintiff lives in Hampden

County and the acts occurred here in the District.” (See Ex. A (Compl. ¶ 3).)

VII.   NON-WAIVER OF DEFENSES

       19.     Nothing in this Notice of Removal shall be interpreted as a waiver or

relinquishment of Defendant’s right to assert any defense, objection, motion, or affirmative

defense or matter, including without limitation a motion to dismiss pursuant to Rule 12 of the

Federal Rules of Civil Procedure.

VIII. PROCESS AND PLEADINGS

       20.     In accordance with 28 U.S.C. § 1446(a) and as stated above, a copy of all process,

pleadings, and orders served upon Defendant in the Action is attached hereto as Exhibit A.




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       21.     Pursuant to Local Rule 81.1(a), Defendant will file certified or attested copies of

all records and proceedings in the Action in state court and a certified or attested copy of all docket

entries in the Action in state court within 28 days of the filing of this Notice of Removal.

       WHEREFORE, this Court has subject matter jurisdiction of this action pursuant to 28

U.S.C. §§ 1331, 1441, and 1146, and Defendant hereby removes this Action from the Hampden

County Superior Court of the Commonwealth of Massachusetts to the United States District Court

for the District of Massachusetts.



                                                       Respectfully Submitted,

                                                       SHEIN US SERVICES, LLC

                                                       By its attorneys,

                                                       /s/ Brian J. Bosworth
                                                       Brian J. Bosworth (BBO # 685163)
                                                       HUNTON ANDREWS KURTH LLP
                                                       60 State Street, Suite 2400
                                                       Boston, MA 02109
                                                       (617) 648-2800
                                                       (617) 433-5022 (fax)
                                                       BBosworth@HuntonAK.com

Dated: February 24, 2025




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 24th day of February, 2025, a true and correct copy of this

document was electronically filed with the Clerk of Court through the ECF System and will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(“NEF”) pursuant to Local Rule 5.4(c). A true and correct copy of the foregoing was also served

by email and regular first class mail upon Plaintiff Nicole Carter at the address and email address

below:

         Nicole Carter
         16 Rochelle Street
         Springfield, MA 01109
         Nicolecarter7440@gmail.com

                                                     /s/ Brian J. Bosworth
                                                     Brian J. Bosworth




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